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                       EXHIBIT C
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        A written statement of Dr. Wood’s opinions for this case is set forth below, and her
curriculum vitae is attached. Dr. Wood’s opinions are based upon her research and experience,
which are described in the attached curriculum vitae.
       Dr. Wood will provide important context and background about the American
system of campaign finance, the features and operation of political spending, and the
regulation of political spending.
       •   Dr. Wood will explain the various entities through which candidates receive financial
           support. Dr. Wood will explain that traditional entities include candidate campaign
           committees, party committees, and political action committees (PACs). These
           traditional entities can transfer funds to each other. These entities are typically
           regulated by the Federal Election Commission (“FEC”), or a state agency equivalent,
           which establishes/enforces reporting and disclosure requirements and contribution
           limitations. The rules generally require committees to report certain information about
           contributions and expenditures, such as source, amount, and date. The disclosure is
           conducted with periodic deadlines that increase in frequency as the election
           approaches. The reports are filed and housed with the campaign finance regulators,
           who release the data to the public. Members of the public can search the data to find
           information about contributions made to and expenditures made by the committees. In
           addition to disclosure requirements, these traditional entities generally are limited in
           the amount and type of contributions they can receive.

       •   Dr. Wood also will explain non-traditional entities that have emerged and engage in
           political spending such as Super PACs, 572 groups, and 501(c)(4) entities. Dr. Wood
           will generally describe these entities, and explain how these entities may receive
           unlimited contributions both in amount and type. Dr. Wood will explain generally the
           limitations on candidate involvement with these entities as compared to traditional
           campaign entities. The disclosure requirements associated with these non-traditional
           entities vary depending upon the type of entity. For example, 501(c)(4) entities
           generally are not required to publicly disclose contributors. These 501(c)(4) entities
           are often referred to as sources of “dark money” because of their lack of transparency
           to the public, compared to traditional entities such as a candidate’s campaign
           committee. The lack of transparency is amplified when non-traditional entities are used
           in conjunction with one another. Some believe that the lack of transparency of these
           dark money entities make them ripe vehicles for ripe vehicles to use to circumvent
           limits set for the traditional entities. Moreover, because many of these non-traditional
           entities do not disclose the sources of their contributions, they prevent the public from
           detecting when public officials favor the preferences of their donors over the
           preferences of their broader constituency.

       •   Dr. Wood will educate the jury generally about the concept of campaign finance
           disclaimers, which are the “stand by your ad” requirements that appear with political
           messages. These disclaimers identify the entity that paid for the ad. Disclaimers have
           the feature of appearing immediately with the message, though in the video context,
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           they have the disadvantage of being displayed only very briefly. Dr. Wood will explain
           that disclaimers have consistently been shown to affect voter perceptions.


I approve the content contained within this disclosure.




Signed                                       Dated August 29, 2022
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Abby K. Wood
CONTACT               University of Southern California                         Telephone: 213-740-8012
                      Gould School of Law                                       Email: awood@law.usc.edu
                      699 Exposition Blvd.                                      Web: www.abbykwood.com
                      Los Angeles, CA 90089                                     Twitter: @yesthatabbywood


ACADEMIC              USC Gould School of Law, Los Angeles, CA
APPOINTMENTS           Professor of Law, Political Science, and Public Policy, 2021 –
                       Associate Professor of Law, Political Science, and Public Policy, 2017 – 2021
                       Assistant Professor of Law, Political Science, and Public Policy, 2014 – 2017

                      University of Chicago School of Law, Chicago, IL
                       Class of 1949 Visiting Associate Professor of Law, Fall 2019


ADDITIONAL            Commissioner, California Fair Political Practices Commission, 2021 –
APPOINTMENTS
                      Member, California Fair Political Practices Commission’s Task Force on Digital Advertising
                      Transparency, 2020 – 2021

                      Member, Federal Bipartisan Campaign Finance Task Force, 2015 – 2018

                      United States Court of Appeals for the Ninth Circuit, San Francisco, CA, Law Clerk,
                      Chambers of the Hon. John T. Noonan, Jr. 2012-2013


JOURNAL ARTICLES      [19] Aneja, Abhay, Jacob M. Grumbach, and Abby K. Wood. 2022. “Financial Inclusion in
                      Politics,” New York University Law Review

                      [18] Feinstein, Brian and Abby K. Wood, “Divided Agencies,” Southern California Law
                      Review (forthcoming, 2022).

                      [17] Abby K. Wood, Christopher Elmendorf, Douglas M. Spencer, and Nicolas Napolio. 2022.
                      “Mind the (Participation) Gap: Vouchers, Voting, and Visibility,” American Politics Research

                      [16] Abby K. Wood. 2022. “Voters Use Campaign Finance Transparency and Compliance
                      Information,” Political Behavior. https://doi.org/10.1007/s11109-022-09776-4

                      [15] Wood, Abby K. and Christian Grose. 2021. “Campaign Finance Transparency Affects
                      Legislators’ Election Outcomes and Behavior.” American Journal of Political Science.
                      https://doi.org/10.1111/ajps.12676

                      [14] Clouser McCann, Pamela, Douglas M. Spencer, and Abby K. Wood. 2021 “Measuring
                      State Capture,” Wisconsin Law Review.

                      [13] Abby K. Wood. 2021. “Learning from Campaign Finance Information.” Emory Law
                      Journal 70(5): 1091-1142.

                      [12] Abby K. Wood. 2020. “Facilitating Accountability for Online Political Advertisements.”
                      Ohio State Technology Law Journal 16(2): 520-557.




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                      [11] Grose, Christian & Abby K. Wood. 2019. “Randomized experiments by government
                      institutions and American political development.” Public Choice 185(3): 405-413,
                      https://doi.org/10.1007/s11127-019-00704-5

                      [10] Stein, Robert, et al., 2019. "Waiting to Vote in the 2016 Presidential Election: Evidence
                      from a Multi-jurisdiction Study.” Political Research Quarterly,
                      https://doi.org/10.1177/1065912919832374

                      [9] Elmendorf, Christopher S. & Abby K. Wood. 2018 “Elite Political Ignorance: Law, Data,
                      and the Representation of (Mis)Perceived Electorates.” U.C. Davis Law Review 52(2) (lead
                      article).

                      [8] Abby K. Wood & Ann M. Ravel. 2018. “Fool Me Once: Government Regulation of “Fake
                      News” and other Online Political Advertising.” Southern California Law Review 91(6): 1223-
                      78.

                      [7] Abby K. Wood. 2018. “Campaign Finance Disclosure”. Annual Review of Law & Social
                      Science 14(1). https://www.annualreviews.org/doi/abs/10.1146/annurev-lawsocsci-110316-
                      113428

                      [6] Mann, Christopher B., et al., 2018. "Pedagogical Value of Polling Place Observation By
                      Students." PS: Political Science & Politics. https://doi.org/10.1017/S1049096518000550

                      [5] Wood, Abby K. and David E. Lewis. 2017. “Agency Performance Challenges and Agency
                      Politicization,” Journal of Public Administration, Research, and Theory 27(4): 581-595.
                      https://doi.org/10.1093/jopart/mux014

                      [4] Michalski, Roger M. and Abby K. Wood. 2017. “Twombly and Iqbal at the State Level,”
                      Journal of Empirical Legal Studies, 14(2): 424-469. https://doi.org/10.1111/jels.12152

                      [3] Wood, Abby K. and Douglas M. Spencer. 2016. “In the Shadows of Sunlight: The Effects
                      of Transparency on State Political Campaigns,” Election Law Journal 15(4): 302-329.
                      https://doi.org/10.1089/elj.2016.0365

                      [2] Jensenius, Francesca and Abby K. Wood. 2016. “Caught in the Act but not Punished: On
                      Elite Rule of Law and Deterrence,” Penn State Journal of Law & International Affairs.
                      686(4).

                      [1] Spencer, Douglas M. and Abby K. Wood. 2014. “Citizens United, States Divided: An
                      Empirical Analysis of Independent Political Spending,” Indiana Law Journal 89(1):315-372.



BOOK                  [2] Stein, Robert, et al., “Polling Place Quality and Access” in The Future of Election
CHAPTERS              Administration (Kathleen Hale and Bridgett A. King, eds., Palgrave, 2019).

                      [1] “Charm and Punishment: How the Philippines’ Leading Man Became Its Most Famous
                      Prisoner.” Prosecuting Heads of State (Ellen Lutz and Caitlin Reiger, eds., Cambridge
                      University Press, 2009).




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WORKING PAPERS        “Decentralized Legislative Oversight of Bureaucratic Policy Making” (with Janna King
                      Rezaee and Sean Gailmard) Revise and resubmit at Journal of Theoretical Politics

                      “Facebook Political Ads and Accountability: Outside Groups Are Most Negative, Especially
                      When Hiding Donors or Disappearing” (with Shomik Jain)

                      “The Political Economy of COVID-19 Policy Choices: Stay-at-Home Orders and Worker
                      Political Efficacy in the States” (with Pamela Clouser McCann)

                      “Outside Campaign Donations in Rural Congressional Districts” (with Zoe Nemerever)


OTHER WRITING         “Random Audits and Regulatory Compliance” in Regulatory Review, Nov 21, 2019,
                      https://www.theregreview.org/2019/11/21/wood-grose-random-audits-regulatory-
                      compliance/

                      “The FEC’s Institutional Predicament” in Administrative & Regulatory Law News, fall 2019
                      (lead article)

                      “Hillary Clinton, My Daughter, and Me” in The Hillary Effect (Jennifer Merolla and Rachel
                      VanSickle-Ward, eds., 2020, Bloomsbury)

                      “Campaign Finance Disclosure” in Money in American Politics: An Encyclopedia (David
                      Schultz, ed., ABC-CLIO, 2018).


AMICUS WRITING        Brief Amici Curiae from Legal Scholars of Campaign Finance in Support of Petitioners,
AND CONGRESSIONAL     Representative Lieu, et. al., v. FEC, No. 19-1398, July 22, 2020 (author, with nine law
TESTIMONY             professors joining). The brief argued that SpeechNow.org v. FEC, which created so-called
                      “Super PACs”, was wrongly decided.

                      United States Senate Judiciary Committee, Subcommittee on Federal Courts, Oversight,
                      Agency Action, and Federal Rights, regarding judicial ethics and dark money in judicial
                      politics, June 13, 2022

                      California Senate’s Standing Committee on the Judiciary, regarding
                      SB 27, the Presidential Tax Transparency and Accountability Act, April 2019

                      California Senate’s Standing Committee on Elections and Constitutional Amendments,
                      regarding SB 149, the Presidential Tax Transparency and Accountability Act, April 2017


OP-EDS                “Citizens United turns 10 today. Here’s what we’ve learned about dark money”, Washington
                      Post Monkey Cage, January 21, 2020.
                      https://www.washingtonpost.com/politics/2020/01/21/citizens-united-turns-10-today-
                      heres-what-weve-learned-about-dark-money/

                      “Elizabeth Warren’s Pinky Promises with Little Girls”, NBC News THINK, Sept. 18, 2019,
                      https://www.nbcnews.com/think/opinion/elizabeth-warren-s-selfie-my-daughter-went-
                      viral-because-pinkie-ncna1055561

                      “How will the Michael Cohen and Duncan Hunter scandals affect the November election?
                      Here’s what our research finds” (with Christian R. Grose), Washington Post Monkey Cage,
                      August 28, 2018,
                      https://www.washingtonpost.com/news/monkey-cage/wp/2018/08/28/come-november-
                      how-will-voters-react-to-the-cohen-and-hunter-revelations-heres-what-our-research-finds



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                      “Open up the black box of political advertising” (with Christopher S. Elmendorf and Ann
                      Ravel), San Francisco Chronicle Op-Ed, Sept. 23, 2017,
                       https://www.sfchronicle.com/opinion/openforum/article/Open-up-the-black-box-of-
                      political-advertising-12221372.php

                      “Disclosure can Encourage Political Speech” (with Michael Gilbert), The Hill, Oct. 21, 2016,
                      https://thehill.com/blogs/pundits-blog/campaign/302152-disclosure-can-encourage-
                      political-speech


GRANTS &              2017    New Initiatives Grant in Election Science – MIT Election Data and Science Lab and
AWARDS                        Madison Initiative of the William and Flora Hewlett Foundation ($14,000)
                      2016    CA FWD Research Grant ($20,000)
                      2014    Bedrosian Center Research Grant, USC ($5,000)
                      2011    Mike Synar Graduate Research Fellowship, Institute for Governmental Studies,
                              U.C. Berkeley
                      2010    U.C. Berkeley Empirical Legal Studies Fellowship
                      2010    Dean’s Normative Time Fellowship, U.C. Berkeley
                      2009    National Science Foundation, Empirical Implications of Theoretical Models Grant
                      2008    National Science Foundation, IGERT Fellowship
                      2004    Chayes International Public Service Fellowship, Harvard Law School
                      2004    Fletcher School Merit Award
                      2000    Thomas W. Knuckles Award for Ethics and Human Rights, Austin College
                      2000    Austin College Leadership Fellowship


PRESENTATIONS         TDB, Cornell Law School Faculty Workshop (invited), March 2023
(UPCOMING & PAST
3 YEARS)              “The Political Economy of COVID-19 Policy Choices: Stay-at-Home Orders and Worker
                      Political Efficacy in the States” (with Pamela Clouser McCann), Conference on Empirical
                      Legal Studies, University of Virginia, November 2022

                      “The Political Economy of COVID-19 Policy Choices: Stay-at-Home Orders and Worker
                      Political Efficacy in the States” (with Pamela Clouser McCann), Political Institutions and
                      Political Economy Symposium, University of Southern California, July 2022

                      “The Political Economy of COVID-19 Policy Choices: Stay-at-Home Orders and Worker
                      Political Efficacy in the States” (with Pamela Clouser McCann), Law and Society Association
                      Annual Meeting, Lisbon Portugal, July 2022

                      “Outside Campaign Donations in Rural Congressional Districts”, Visions in Methodology,
                      November 2021

                      “Measuring State Capture”, University of Wisconsin School of Law (invited), June 2021

                      “Divided We Govern”, Gray Center Roundtable on Presidential Administration and Political
                      Polarization, George Mason University (invited), June 2021

                      “Facebook Political Ads And Accountability”, Virtual Conference on Political Advertising,
                      Wesleyan University (invited), May 2021

                      “The Political Economy of COVID-19 Policy Choices: Stay-at-Home Orders and Worker
                      Political Efficacy in the States”, Midwest Political Science Assoc. Annual Meeting, April 2021

                      “Financial Inclusion in Politics”, University of Toronto School of Law, Law & Economics
                      Workshop (invited), March 2021



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                      “The Political Economy of COVID-19 Policy Choices: Stay-at-Home Orders and Worker
                      Political Efficacy in the States”, University of Michigan Center for Political Studies Workshop
                      (invited), April 2021

                      “The Political Economy of COVID-19 Policy Choices: Stay-at-Home Orders and Worker
                      Political Efficacy in the States”, Durham University (invited), December 2020

                      “Campaign Finance Transparency Affects Legislative Candidate Performance at the Polls”,
                      Wharton School of Business, University of Pennsylvania (invited), September 2020

                      Elections: What Could Go Wrong? And What Can Be Done About It?, Stanford Law School,
                      May 2020 (invited but declined due to scheduling conflict)

                      “Learning from Campaign Finance Disclosures”, Emory University School of Law (invited),
                      February 2020

                      “Transparency and Accountability for Online Political Ads”, Ohio State University School of
                      Law (invited), January 2020

                      “Campaign Finance Transparency Affects Legislative Candidate Performance at the Polls”,
                      Conference on Empirical Legal Studies, Pomona, CA, November 2019

                      “Campaign Finance Transparency Affects Legislative Candidate Performance at the Polls”,
                      University of Chicago School of Law (invited), November 2019

                      “Campaign Finance Transparency Affects Legislative Candidate Performance at the Polls”,
                      Northwestern University School of Law (invited), October 2019

                      “Campaign Finance Transparency Affects Legislative Candidate Performance at the Polls”,
                      University of Wisconsin – Madison (invited), October 2019

                      “Campaign Finance Transparency Affects Legislative Candidate Performance at the Polls”,
                      University of Iowa School of Law (invited), September 2019

                      “Lessons on Corruption from Judge Noonan”, Conference Honoring Judge Noonan’s
                      Intellectual Legacy, U.C. Berkeley (invited), September 2019

                      “Campaign Finance Transparency Affects Legislative Candidate Performance at the Polls”, USC
                      Political Institutions and Political Economy workshop, August 2019

                      “Show Me the Money: ‘Dark Money’ and the Informational Benefit of Campaign Finance
                      Disclosure”, Midwest Political Science Association Annual Meeting, Chicago, April 2019

                      “Mind the (Participation) Gap: Vouchers, Voting, and Visibility”, Center for Law and Social
                      Sciences Workshop (USC), February 2019

                      “Campaign Finance Transparency Affects Legislative Candidate Performance at the Polls”,
                      University of California, San Diego, American Politics Speaker Series (invited), January 2019
                      “Mind the (Participation) Gap: Vouchers, Voting, and Visibility”, Southern Political Science
                      Association Conference (Austin, TX) January 2019

                      “Campaign Finance Transparency Affects Legislative Candidate Performance at the Polls”,
                      Conference on American Political Development and Causal Inference, USC (invited), January
                      2019

                      “Campaign Finance Transparency Affects Legislative Candidate Performance at the Polls”,
                      University of Virginia Law and Economics Workshop (invited), November 2018


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                      “Mind the (Participation) Gap: Vouchers, Voting, and Visibility”, Conference on Empirical
                      Legal Studies (poster), November 2018

                      “Campaign Finance Transparency Affects Legislative Candidate Performance at the Polls”,
                      Emory University Political Institutions and Methodology Colloquium (invited), September
                      2018

                      “Campaign Finance Transparency Affects Legislative Candidate Performance at the Polls”,
                      USC Gould School of Law faculty workshop, September 2018

                      “Reforming the Campaign Finance System”, Harvard Kennedy School’s conference on
                      Inequality, Democracy, and America’s Future (invited), August 2018

                      “Mind the (Participation) Gap: Vouchers, Voting, and Visibility”, American Law and Economics
                      Association annual meeting, Boston, MA, May 2018

                      “Mind the (Participation) Gap: Vouchers, Voting, and Visibility”, Midwest Political Science
                      Association annual meeting, Chicago, IL, April 2018

                      “Show Me the Money: ‘Dark Money’ and the Informational Benefit of Campaign Finance
                      Disclosure”, American Association of Law Schools annual meeting, San Diego, Jan. 2018


DOCTORAL              USC Political Science and International Relations: David Ebner (U. Delaware),
DISSERTATION          Thora Giallouri (Fort Lewis College), Kelebogile Zvobgo (William & Mary),
COMMITTEES            Taylor Dalton (Santa Clara Law), Samuel Bonilla, Jose Alcocer


TEACHING              University of Southern California Gould School of Law
                       Administrative Law and Regulatory Policy (2014- )
                       Analytical Methods for Lawyers (2015 - )
                       Money In Politics (2016 - )

                      University of Chicago School of Law
                       Administrative Law and Regulatory Policy (fall term, 2019)

                      University of California, Berkeley (graduate student instructor)
                       Supreme Court and Public Policy (2012)
                       Introduction to Empirical Analysis and Quantitative Methods (2010 - 2011)
                       Comparative Politics (2010)

                      Tufts University, Fletcher School of Law and Diplomacy
                       International Human Rights Law (2008)
                       International Legal Research and Writing (2007 - 2009)

                      Tufts University
                       International Law (2007 coordinating instructor, 2006 teaching assistant)




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OTHER
PROFESSIONAL          USC Gould Committee Service: Committee on Undergraduate Programs (2022 - ),
SERVICE               Administration and Finance Committee (2021-2022), Admissions Committee (2020 - 2021),
                      Clerkship Committee (2014 – 2020, co-chair 2016-2018), Ad Hoc Committee on Sexual
                      Harassment (2018)

                      Referee: Cambridge University Press, National Science Foundation, American Political
                      Science Review, American Journal of Political Science, Journal of Politics, Journal of Law,
                      Economics, and Organizations, Journal of Empirical Legal Studies, Political Behavior,
                      Election Law Journal, Law and Society Review, British Journal of Political Science, Political
                      Science Quarterly, American Politics Research, Politics & Gender, Congress and the
                      Presidency, Research & Politics, Journal of Urban Affairs, Journal of Public Affairs

                      Co-Organizer: Political Economy and Public Law (PEPL X) (June 2017); Southern California
                      Law and Social Science Forum (March 2015) Workshop on Experimental Methods at USC
                      (December 2014).

                      Discussant: Conference on Empirical Legal Studies (2014, 2019), Southern Political Science
                      Association (2015, 2019), Annual Meeting, Midwest Political Science Association (2015, 2019,
                      2021), USC Political Institutions and Political Economy (2018), USC Symposium on Election
                      Administration and Technology (2020)

                      Program Committees: Conference on Empirical Legal Studies (2019)

                      Other service: Board of Directors, National Institute for Money in Politics (2018 – 2021), Board
                      of Directors, OpenSecrets (2021- )


EDUCATION             University of California, Berkeley, Berkeley, CA
                       Ph.D., Political Science;
                       Thesis title: Exposing Malfeasance: Anti-Corruption Laws in the Fifty States

                      Harvard Law School, Cambridge, MA
                       J.D.; Senior Editor, International Law Journal

                      Tufts University, Fletcher School of Law and Diplomacy, Medford, MA
                       M.A.L.D.

                      Austin College, Sherman, TX
                       B.A., Spanish, Summa cum laude


OTHER LEGAL           Steptoe & Johnson LLP, Washington, D.C., Summer Associate
EMPLOYMENT
                      National Democratic Institute for International Affairs, Washington, D.C., Researcher

                      World Bank, Poverty Reduction and Economic Management Network for Latin America and
                      Caribbean region (LAC-PREM), Washington, D.C., Consultant

                      United States Agency for International Development, Cairo, Egypt, Legal Intern

                      Baker Botts LLP, Dallas, TX, Legal Assistant Clerk


BAR ADMISSION         New York, 2008




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